













NUMBER13-07-201-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


_______________________________________________________________  _ 


MAGDALENO CRUZ, SR., ET AL.,	Appellants,


v.



RUBEN G. MOHME, M.D.,	Appellee.

_________________________________________________________________  


On appeal from the 139th District Court


of Hidalgo County, Texas.


_________________________________________________________________  


MEMORANDUM OPINION



Before Justices Rodriguez, Garza, and Vela


Memorandum Opinion Per Curiam



	Appellants, MAGDALENO CRUZ, SR., ET AL., perfected an appeal from a
judgment entered by the  139th District Court of Hidalgo County, Texas, in cause
number C-337-06-C(1).  The clerk's record was filed on April 25, 2007.  No reporter's
record was filed.  Appellants' brief was due on May 29, 2007.  To date, no appellate
brief has been received.

	When the appellant has failed to file a brief in the time prescribed, the Court
may dismiss the appeal for want of prosecution, unless the appellant reasonably
explains the failure and the appellee is not significantly injured by the appellant's failure
to timely file a brief.  Tex. R. App. P. 38.8(a)(1).

	On August 24, 2007, notice was given to all parties that this appeal was
subject to dismissal pursuant to Tex. R. App. P. 38.8(a)(1).  Appellants were given ten
days to explain why the cause should not be dismissed for failure to file a brief.  To
date, no response has been received.

	The Court, having examined and fully considered the documents on file,
appellants' failure to file a proper appellate brief, this Court's notice, and appellants'
failure to respond, is of the opinion that the appeal should be dismissed for want of
prosecution.  The appeal is hereby DISMISSED FOR WANT OF PROSECUTION.

									PER CURIAM

Memorandum Opinion delivered and filed

this the 27th day of September, 2007.




